Case 1:05-cv-01016-.]DT-STA Document 4 Filed 06/10/05 Page 1 of 2 Page|D 1

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IN THE UNITED STATES DISTRICT COURT 05 “’\\
FoR THE WESTERN DISTRICT oF TENNESSEE “/€/a// §

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/V. ' /(’5\ /(`,)
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Plaimirf, §Q;o&§?t

Civ. No. 04-1302-T/An
Civ. No. 05-1016-T/An -
Crirn. No. 02-10007-l-T

VS.

JACK RAY AUSTIN,

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Defendant.

 

ORDER ADMINISTRATIVELY CLOSING DUPLICATIVE CASE

 

Defendant Jack Ray Austin, Bureau of Prisons inmate registration number 18877-076, an
inmate at the Federal Correctional Institution in Memphis, filed a pro se motion pursuant to 28
U.S.C. § 2255 on January 24, 2005, which Was docketed as case number 05-10]6-T/An. This
motion is identical to a previous motion filed by this defendant on November l'7, 2004, Which was
docketed as case number 04-1302-T/An.

Accordingly, it is ORDERED that case number 05-1016-T/An be administratively closed.
lt is further ORDERED that a copy of the motions filed in case number 05-1016-T/An, as Well as
a copy of this order, be docketed in case number 04-l302»T/An. All further documents filed in
connection With either action shall be docketed only in case number 04-1302-T/An.

IT is so oRDERED this q "Eiay OfJune, 2005.

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JAM ` D. TODD
UN ED STATES DISTRICT .IUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01016 Was distributed by faX, mail, or direct printing on
.1 une 13, 2005 to the parties listed.

 

 

.1 ames W. PoWell

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Honorable .1 ames Todd
US DISTRICT COURT

